              Case
 AO 247 (02/08)        5:97-cr-00003-LGW-BWC
                Order Regarding Motion for Sentence Reduction   Document 1846 Filed 03/05/08 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Southern District of Georgia
                                                                                                               2OO811AF-5 AflhI:1.I
                   United States of America                          )
                              v.                                     )                           . ...
                                                                     ) Case  No CR597  00003 035
                          Eric Members
                                                                     ) USMNo: 09495-021
Date of Previous Judgment: December 16, 1997                         ) William W. Preston
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of LJthe defendant           the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the tenn of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 155       months is reduced to time served
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    28                                          Amended Offense Level:     26
Criminal History Category: Vi                                          Criminal History Category: Vi
Previous Guideline Range:  140                  to 175 months          Amended Guideline Range: 120 to 150 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
fl Other (explain):




HI. ADDITIONAL COMMENTS


Except as provided above, all provisions of the judgment dated December 16, 1997,                        shall remain in effect.

IT IS SO ORDERED.

Order Date:        March 5, 2008
                                                                                                    ge's signature


                                                                         William T. Moore, Jr.
Effective Date: March 15, 2008                                           Chief Judge, U.S District Court
                    (if different from order date)                                            Printed name arid title
